nnvl~si;-D (us/oo)

ease 2:99-cr-20227-BBQJNQWHJE% jj§pM?IBEO(§U§aQ€ 1 01c 2 PaQ€lD Zrll_
for '55~.

wEsTERN DISTRICT oF TENNESSEE 555 ‘55555 35 aff h ~' z -

U.S.A. vs. Sharon D. White Docket No.

 

Petition on Probatioo and Supervised Release

C()MES NOW Edward E. Shaw PROBATION ()FFICER OF THE COURT presenting an official
report upon the conduct and attitude of Sharon D. White who was placed on supervision by the Honorable
Jon Phipps McCalla sitting in the Court at Memphis, Tennessee, on the l{)th day of Februa;y , 29_0_0 who
fixed the period of supervision at three 131 years* and imposed the general terms and conditions theretofore
adopted by the Court and also imposed Special Conditions and terms as follows:

 

l. The defendant shall pay restitution in the amount of $92,917.80 (Balance: $91,382.80)

2. The defendant shall submit to drug and alcohol testing and treatment as directed by the Probation
Office.

3. The defendant shall seek and maintain employment other than self-employment

4. The defendant shall make full financial disclosure to the Probation Office.

5. The defendant shall be prohibited from gambling and from going to the casinos or any place Where
gambling occurs.

6. The defendant serve six (6) months of Home Coniinement. [Cornpleted.] **

* Supervised Release began on May 13, 2002.

* * On April 6, 2004, the conditions of Supervised Release were modified by the Honorable Bernice B. Donald.
Due to the defendant failing to pay restitution, a Special Condition requiring six (6) months of Home
Confinement Was imposed

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLL()WS:

Ms. White’s Probation is due to expire on May 12, 2005, but she has not paid restitution in full. She lacked an
ability to pay during part of 2004, being unemployed from April through September. Ms. White has recently
agreed, by executing a voluntary payroll deduction form, to have her employer make regular deductions for future
restitution payments

 

    

 

 

 

 

ORDER OF COURT Respectfully,
__ “,;_' " "’ '
Considered and gdered this;_.>_ day of :-»Qz¢/wj <:%w /a1137
zoghand ordered seward E. shaw, U.s. Pmbaiig@n?sr
filed and made a part of the records Electronic Monitoring Specialist
in the above case.
)/(// Place: Memnhis TN
07
nan sanfass@hminnsad§she 1 one Aprii 1a 2005 'd / w
with F!ula 55 and/or 32(b) FHCrP on '//l

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 216 in
case 2:99-CR-20227 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

DeWun R. Settle

LAW OFFICE OF DEWUN SETTLE
100 N. Main Building

Ste. 3001

l\/lemphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

